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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FALANZO MARQUEST HIXSON,                    )
                                            )       No. 15 CV 6151
                             Plaintiff,     )
                                            )       Judge Thomas M. Durkin
              v.                            )       Magistrate Judge Susan E. Cox
                                            )
MICHAEL LEMKE, et al.,                      )
                                            )
                             Defendants.    )


                                STIPULATION TO DISMISS

       NOW COMES the Plaintiff, Falanzo Marquest Hixson, by his attorneys, Gregory B.

Bolduc and Jason M. Maxfield, and the Defendants, Salvador Godinez, Michael Lemke, Tralon

Durrett (incorrectly sued as "Sgt. Durrant"), and Randy Malkowski, by their attorney, LISA

MADIGAN, Attorney General of Illinois, and hereby stipulate to the dismissal of this case with

prejudice. The Plaintiff and the Defendants agree as follows:



       1.      This lawsuit shall be dismissed with prejudice and without leave to reinstate.



       2.      Each party shall bear their own attorney's fees, costs and expenses.
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